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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 MANUEL CONTRERAS,

        Plaintiff,
                                                        CIVIL NO. 18-1944 (PG)
                v.

 COMMONWEALTH OF PUERTO
 RICO, ET AL.,

        Defendants.


                                  OPINION AND ORDER


      On December 10, 2018, plaintiff Manuel Contreras (“Contreras” or “plaintiff”) filed this

action pro se under 42 U.S.C. § 1983 against the Commonwealth of Puerto Rico, Maria Lugo

Cintron, the Secretary of Justice and others. See Docket No. 3. On that same date, Contreras

also filed a motion to proceed in forma pauperis (Docket No. 1), which the Clerk of Court

deemed defective (Docket No. 2). Contreras is an inmate in a state penal institution in Ponce,

Puerto Rico, who makes claims of actual innocence and ineffective assistance of counsel. See

Docket No. 3.

      At first glance, the court notes that plaintiff’s claim suffers from several defects, the

first of which is that it does not state a viable claim under Section 1983. Here, the plain

language of Contreras’ complaint demonstrates that he is challenging the validity of his

conviction and confinement. However, “[t]his Court has held that a prisoner in state custody

cannot use a § 1983 action to challenge ‘the fact or duration of his confinement.’” Wilkinson v.

Dotson, 544 U.S. 74, 78 (2005) (citing Preiser v. Rodriguez, 411 U.S. 475, 489 (1973)).

Instead, the Supreme Court has found that a writ of habeas corpus pursuant to 28 U.S.C. §

2254(a) “‘has been accepted as the specific instrument to obtain release from [unlawful]

confinement.’” Wilkinson, 544 U.S. at 79 (citing Preiser, 411 U.S. at 486). Despite being
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labeled as a Section 1983 cause of action, the substance of his claim - and not its name or title

- controls.

        Now, construing the action as an application for habeas corpus relief under 28 U.S.C. §

2254, the court also finds plaintiff's claim defective for failure to exhaust state court remedies.

In his complaint, Contreras asserts under penalty of perjury that he has not brought suit in

state of federal court dealing with the same facts involved in this action or availed himself of

the prison’s available grievance procedures. See Docket No. 3. But “habeas corpus actions

require a petitioner fully to exhaust state remedies … .” Wilkinson, 544 U.S. at 79. When

habeas corpus is the exclusive federal remedy, “then a plaintiff cannot seek the intervention of

a federal court until he has first sought and been denied relief in the state courts, if a state

remedy is available and adequate.” Preiser, 411 U.S. at 477 (citing 28 U.S.C. § 2254(b). By his

own admissions then, Contreras has failed to meet the requirements of the applicable statute.

        But most importantly, his claim fails on one final count: despite his sworn assertions,

Contreras has indeed sought - and been denied - habeas relief. It is clear from this court’s

records that Contreras has filed three previous writs of habeas corpus under 28 U.S.C. § 2254

based on the same claims of actual innocence and ineffective assistance of counsel raised

here. See Civil Cases No. 12-1685(CCC), 16-2042(DRD) and 17-1466(DRD). All of them were

dismissed. In fact, in Civil Case No. 12-1685(CCC), the court considered his claims on the

merits and entered judgment dismissing them with prejudice. See Civil Case No. 12-

1685(CCC), Dockets No. 20, 22, 23. As a result, the plaintiff's claims shall once again be

dismissed pursuant to 28 U.S.C. § 2244(b)(1), stating that “[a] claim presented in a second or

successive habeas corpus application under section 2254 that was presented in a prior

application shall be dismissed.”
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        In light of the foregoing, the court must sua sponte dismiss the plaintiff’s claim. 1 See

Gonzalez-Gonzalez v. United States, 257 F.3d 31, 37 (1st Cir. 2001) (“If it is crystal clear that

the plaintiff cannot prevail and that amending the complaint would be futile, then a sua

sponte dismissal may stand.”). See also Green v. Concord Baptist Church, 313 Fed.Appx. 335

(1st Cir.2009)(affirming district court’s sua sponte dismissal of action where the allegations

in the complaint were insufficient to state a Section 1983 claim and opportunity to amend

would be futile).

        Judgment shall be entered accordingly.

        IT IS SO ORDERED.

        In San Juan, Puerto Rico, January 8, 2019.



                                                                    S/ JUAN M. PÉREZ-GIMÉNEZ
                                                                    JUAN M. PEREZ-GIMENEZ
                                                                    SENIOR U.S. DISTRICT JUDGE




1If Contreras continues to file successive identical claims in this district court, the court will order the taxing of
his prisoner account to satisfy the applicable filing fee pursuant to 28 U.S.C. § 1915. See Muldoon v. Maloney,
230 F.3d 1347 (1st Cir. 2000) (affirming district court’s dismissal of “frivolous” complaint filed by state prisoner
proceeding in forma pauperis, as well as the taxing of his prisoner account to satisfy filing fee under 28 U.S.C. §
1915, where the complaint was an identical copy of a complaint he had previously filed).
